Case 2:15-cr-00547-UA Document 7 Filed 10/01/15 Page 1 of 1 Page |D #:25

 

 

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To: Frcm:

KlRY K. GRAY J()SEPH O. JOHNS 0 m
Acting Clerk, United States District Court Assistant United States Atto§ney §:~.'>m 933
Central District of California Criminal Division 1 -< n g
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F or purposes of dete1n11ning Whethei the above-referenced matter, being filed on Qgt930er r__'_l_,

20 l 5: il §§ §§
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(a) should be assigned to the Honorable André Birotte Jr., it § §"§§;: :':
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izl lS ' *“:s ..!‘-"’

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a matter that Was pending in the United States Attorney’s Oftice (USAO) on or before
August 8, 2014, the date the Honorable Andre' Birotte Jr. resigned from his position as the
United States Attorney for the Central District of California.

(b) should be assigned to the Honorable l\/lichael W. Fitzgerald, it
l:l is
|Xl is not

(l) a matter that Was pending in the Terrorism and Export Crimes Section in the USAO’s
National Seourity Division on or before August 3, 2015; (2) a matter pending in the
USAO’s National 'Security Section in the USAO’s Criminal Division on or before August
3, 20l 5, or a matter in Which the National Security Section Was previously involved; or
(3) a matter in Whieh current First Assistant United States Attorney Patricl< R. Fitzgerald
is or has been personally involved or on Which he has personally consulted vvhile
employed in the USAO.

 

J<LSE o d rth
Ass1 ed States Attorney

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